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                              UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA
                                   CIVIL MINUTES - GENERAL

   Case No. 2:21−cv−08575−MCS−AFM                      Date       January 29, 2022

   Title        LALTITUDE LLC V. JC INGENIUM PTY LTD ET AL




   Present:        The Honorable      Mark C. Scarsi , U. S. District Judge
                Stephen Montes Kerr                            Not Reported;
                    Deputy Clerk                           Court Reporter/Recorder

      Attorney(s) Present for Plaintiff(s):         Attorney(s) Present for Defendant(s):
                None Present                                    None Present


  Proceedings:      (IN CHAMBERS) ORDER TO SHOW CAUSE


        This action was filed over 90 days ago. The docket in this case lacks filings
    showing it is being timely prosecuted.
          Plaintiff is ORDERED TO SHOW CAUSE why the action should not be
    dismissed without prejudice under Federal Rule of Civil Procedure 4(m). Plaintiff shall
    file a written response to this Order to Show Cause within 14 days.
          In lieu of a written response, Plaintiff may discharge this Order to Show Cause by
    filing documents showing that the matter is being prosecuted diligently--for example, a
    proof of service of summons and complaint.
         Failure to file a timely and satisfactory response may result in the dismissal of this
    action in its entirety for lack of prosecution.
           IT IS SO ORDERED.




                                                                   Initials of Clerk: smo

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